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Messages - Chealsi Putman

Grandma said that’s how he has been getting money he sold everything | have
tracked down a few of them for matt but not all yet

BD Fetaala)

Yeah it’s crazy u should see all her bank record of him pushing money in and out

Must be as bad as the zoo account
Yes
Have you all herd a time on the heating tomorrow
Hearing *

No not yet. Has he left Atlanta yet?
No not that we know of
There is something funny going on with that

Sem are g

Idk it's just odd that they keep telling us a day then it don’t happen

That's how it's been from the beginning. They kept saying they were going to

arrest him and kept getting pushed back further

 

Yep that's how it’s been my whole life ! | have been trying to get joe in trouble for
year and years

Who pissed of Jeff Johnson matt just told me yesterday that he has to keep him
from telling all he might just mess this entire thing up for us all

| have no idea who pissed him off. We saw it on Facebook too. He is a grown
man that can’t even keep his mouth shut. He gets pissed off that Matt tells me
you stuff that he won't tell him and he gets all butt hurt about it

 

Yes he was mad that matt called us when joe was arrested but not him

He said u mean to tell me | am the one that got u in contact with him and he
can’t even tell me he was arrested first

The thing is Johnson only has he said she said information. He's not the one
that’s been affected like all of us. We are the ones that had to go through it all
deal with it all. Not him.

 

And FYI Finley is saying that y'all sold a tiger skin for 5000 in Vegas

The thing is you had specific information and Jeff and | specific information

Yep

 

Funny that tiger skin is in my living room hanging on the wall

Exhibit 134.

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